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                                  UNITED STATES DISTRICT COURT

                                  EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                                No. 14 CR 00141 AWI BAM

                    Plaintiff,
                                                         DETENTION ORDER
         v.                                              (Violation of Pretrial Release)

VERONDA CREASY,

                    Defendant.


      After conducting a hearing pursuant to 18 U.S.C. § 3148(b) on the United States’ motion for
revocation of the previous order for release, the Court orders the previous conditions of pretrial
release be revoked and this defendant detained based upon the following findings:

         there is probable cause to believe the person has committed a federal, state or local crime
         while on release and defendant has not rebutted the presumption that his release will
         endanger another or the community; or

   X there is clear and convincing evidence that the defendant has violated another condition of
     release; and

   X based on the factors set forth in 18 U.S.C. § 3142(g) there is no condition or combination of
     conditions of release that will assure that the defendant will not flee or pose a danger to the
     safety of another person of the community; or

   X the person is unlikely to abide by any condition or combination of conditions of release.
     Fed. R. Crim. P. 46(c), 18 U.S.C. § 3148.

   IT IS ORDERED that pursuant to 18 U.S.C. § 3142(i)(2)-(4) defendant is committed to the custody
of the Attorney General for confinement in a corrections facility separate, to the extent practicable,
from persons awaiting or serving sentences or being held in custody pending appeal. The defendant
shall be afforded reasonable opportunity for private consultation with counsel. Upon further order of a
court of the United States or request of an attorney for the United States the person in charge of the
corrections facility in which the defendant is confined shall deliver the defendant to a United States
Marshal for purpose of an appearance in connection with a court proceeding.

IT IS SO ORDERED.

Dated:        September 5, 2014
                                               UNITED STATES MAGISTRATE JUDGE
